     Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 1 of 22 PageID #:7405




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JOSEPH D.G. SIMPSON, et al., on behalf of            )
themselves and all others similarly situated,        )   Case No. 18-cv-553
                                                     )
                      Plaintiffs,                    )   Judge Sharon Johnson Coleman
                                                     )   Mag. J. Heather K. McShain
v.                                                   )
                                                     )
SHERIFF TOM DART, in his official capacity, et al.   )
                                                     )
                      Defendants.                    )

         PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF CLASS CERTIFICATION
     Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 2 of 22 PageID #:7406




                                                   TABLE OF CONTENTS
I.    INTRODUCTION ................................................................................................................... 1
II. ARGUMENT ........................................................................................................................... 2
     A. The EEOC Charges Encompass the Class Claims.............................................................. 2
     B. Plaintiffs Have Properly Applied the Statute of Limitations in Their Proposed Class
        Definitions........................................................................................................................... 5
     C. The Seventh Circuit Held that Plaintiffs Did Not Need to Offer Evidence About the
        Validity of the Tests to Satisfy the Commonality Requirement, and Defendants Are
        Asking the Court to Violate that Ruling. ............................................................................ 8
     D. Plaintiffs’ Claims Satisfy the Commonality and Typicality Requirements
        Notwithstanding Differences in Preparation to Take the Tests, and Defendants Again
        Are Asking the Court to Violate the Seventh Circuit’s Ruling. ......................................... 9
     E. The Three Components of the Physical Abilities Test (“PAT”) Cannot Be Analyzed
        Separately. ......................................................................................................................... 11
     F. Each Class Satisfies the Requirements for Certification under Rule 23(b)(3). ................ 14
III. CONCLUSION ....................................................................................................................... 15




                                                                       i
   Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 3 of 22 PageID #:7407




                                               TABLE OF AUTHORITIES
                                                                                                                              Page(s)

Cases

Bell v. PNC Bank, N.A.,
    800 F.3d 360 (7th Cir. 2015) ...................................................................................................15

Bew v. City of Chi.,
   252 F.3d 891 (7th Cir. 2001) ...................................................................................................13

Brand v. Comcast Corp.,
   302 F.R.D. 201 (N.D. Ill. 2014) ...............................................................................................13

Cheek v. Peabody Coal Co.,
   97 F.3d 200 (7th Cir. 1996) .......................................................................................................2

Chi. Teachers Union, Local No. 1 v. Bd. of Educ. of Chi.,
   797 F.3d 426 (7th Cir. 2015) ...................................................................................................10

Conley v. Nestle USA, Inc.,
   No. 09-CV-5996, 2011 U.S. Dist. LEXIS 8971 (N.D. Ill. Jan. 31, 2011) ................................7

Dear v. Shinseki,
   578 F.3d 605 (7th Cir. 2009) .....................................................................................................2

Delaware State College v. Ricks,
   449 U.S. 250 (1980) ...............................................................................................................6, 7

Delgado v. Merit Sys. Prot. Bd.,
   880 F.3d 913 (7th Cir. 2018) .....................................................................................................2

EEOC v. DHL Express United States,
  No. 10 C 6139, 2021 U.S. Dist. LEXIS 253036 (N.D. Ill. Dec. 30, 2021) .............................13

EEOC v. O&G Spring & Wire Forms Specialty Co.,
  38 F.3d 872 (7th Cir. 1994) .....................................................................................................14

Eggleston v. Chicago Journeymen Plumber’s Local Union No. 130, U.A.,
   657 F.2d 890 (7th Cir. 1981) .....................................................................................................2

Ezell v. Potter,
   400 F.3d 1041 (7th Cir. 2005) ...................................................................................................2

Garrard v. Rust-Oleum Corp.,
   No. 20-cv-00612, 2021 U.S. Dist. LEXIS 238566 (N.D. Ill. Dec. 14, 2021)............................7



                                                                    ii
   Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 4 of 22 PageID #:7408




Gen. Tel. Co. of the Southwest v. Falcon,
   457 U.S. 147 (1982) .................................................................................................................10

Int’l Bhd. of Teamsters v. United States,
    431 U.S. 324 (1977) .................................................................................................................15

Lewis v. City of Chicago,
   560 U.S. 205 (2010) ...........................................................................................................1, 6, 7

Lewis v. City of Chicago,
   No. 98 C 5596 (N.D. Ill., Aug. 17, 2011) ................................................................................14

Livingston v. City of Chicago,
    No. 16-10156, 2019 WL 194848 (N.D. Ill. Jan. 14, 2019) ........................................................4

Mister v. Ill. Cent. Gulf R. Co.,
   832 F.2d 1427 (7th Cir. 1987) .................................................................................................13

Murdock-Alexander v. Tempsnow Empl. & Placement Servs., LLC,
  No. 16-cv-5182, 2016 U.S. Dist. LEXIS 160616 (N.D. Ill. Nov. 21, 2016) .............................7

O'Rourke v. Cont’l Cas. Co.,
   983 F.2d 94 (7th Cir. 1993) ...................................................................................................3, 4

Orlowski v. Dominick’s Finer Foods, Inc.,
   937 F. Supp. 723 (N.D. Ill. 1996) ..............................................................................................5

Oxman v. WLS-TV,
  595 F. Supp. 557 (N.D. Ill. 1984) ..............................................................................................4

Palmer v. Shultz,
   815 F.2d 84 (D.C. Cir. 1987) ...................................................................................................12

Port Auth. Police Asian Jade Soc’y of N.Y. & N.J. Inc. v. Port Auth. of N.Y. & N.J.,
   681 F. Supp. 2d 456 (S.D.N.Y. 2010)......................................................................................11

Rosario v. Livaditis,
   963 F.2d 1013 (7th Cir. 1992) .................................................................................................10

Simpson v. Dart,
   No. 21-8028, 2022 U.S. App. LEXIS 420 (7th Cir. Jan. 6, 2022) .........................................8, 9

Stewart v. Gen. Motors Corp.,
   542 F.2d 445 (7th Cir. 1976) ...................................................................................................14

Thomas v. City of Evanston,
   610 F. Supp. 422 (N.D. Ill. 1985) ..............................................................................................5



                                                                    iii
   Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 5 of 22 PageID #:7409




Trout v. Lehman,
   702 F.2d 1094 (D.C. Cir. 1983) ...............................................................................................13

U.S. E.E.O.C. v. Roadway Exp., Inc.,
   No. 06 C 4805, 2007 WL 2198363 (N.D. Ill. July 31, 2007) ................................................3, 4

Vasich v. City of Chicago,
   No. 11 C 04843, 2013 U.S. Dist. LEXIS 1740 (N.D. Ill. Jan. 7, 2013).....................................5

Wal-Mart Stores, Inc. v. Dukes,
   564 U.S. 338 (2011) .............................................................................................................9, 10

Wards Cove Packing Co. v. Atonio,
  490 U.S. 642 (1989) .................................................................................................................12

Washtenaw Cty. Emples. Ret. Sys. v. Walgreen Co.,
  No. 15-cv-3187, 2018 U.S. Dist. LEXIS 53435 (N.D. Ill. Mar. 29, 2018)
  (Coleman, J.) ............................................................................................................................10

Zollicoffer v. Gold Std. Baking, Inc.,
    335 F.R.D. 126 (N.D. Ill. 2020) ...........................................................................................7, 15

Statutes

42 U.S.C. § 2000e–2(k)(1)(A)(i) .....................................................................................................6

42 U.S.C. § 2000e–2(k)(1)(A)(ii) ....................................................................................................9

42 U.S.C. § 2000e-2(k)(1)(B)(i) ..............................................................................................11, 12

Rules

Fed. R. Civ. P. 23 .............................................................................................................................9

Fed. R. Civ. P. 23(a) ............................................................................................................1, 10, 15

Fed. R. Civ. P. 23(b)(3)........................................................................................................1, 14, 15




                                                                       iv
  Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 6 of 22 PageID #:7410




                                       I. INTRODUCTION

       Plaintiffs ask the Court to certify four classes challenging hiring exams that have

disproportionately eliminated Black applicants for correctional officer positions at the Cook

County Jail. Employment testing cases are paradigmatic cases for class certification. Defendants

have not cited a single disparate impact case regarding a hiring exam denying certification.

       Defendants advance three types of flawed arguments against certification. First, they

mischaracterize the scope of the initially filed class charge, ignoring its breadth, including its

mention of “the hiring process, including the written exam [and] physical exam ….” Ex. A

(emphasis added). They also utterly ignore the scope of the EEOC’s investigation of that charge,

which included the written exams and the PAT.

       Second, Defendants are also mistaken in their argument about statute of limitations law,

which they wrongly argue precludes class certification here. They misconstrue directly on-point,

controlling Supreme Court authority on this question, Lewis v. City of Chicago, 560 U.S. 205

(2010), which makes all the claims asserted by the proposed class here timely.

       Third, Defendants contend that, with the exception of numerosity, Plaintiffs cannot

satisfy any of the other requirements for certification under Rules 23(a) and (b)(3): commonality,

typicality, adequacy, predominance, or superiority. But their arguments ask the Court to defy the

Seventh Circuit’s decision in this very case, conflict with other judicial precedents, and ignore or

blatantly mischaracterize the evidence.

       Following established law, the Court should certify all four proposed classes.
     Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 7 of 22 PageID #:7411




                                         II. ARGUMENT

A.       The EEOC Charges Encompass the Class Claims.

         Defendants’ first argue that none of the proposed classes should be certified because,

Defendants say, “none of the … filed charges … challenged the written exams or the PAT in any

way.” Resp. at 3. That argument is doubly wrong. It applies the wrong legal standards and

ignores the relevant facts.

         Title VII plaintiffs may pursue their claims if they are “reasonably related to the charges

actually set forth in the administrative filing.” Delgado v. Merit Sys. Prot. Bd., 880 F.3d 913, 926

(7th Cir. 2018) (citing Dear v. Shinseki, 578 F.3d 605, 609 (7th Cir. 2009). “Even a charge that is

not explicit in an employee’s complaint will be deemed exhausted if ‘the current claim

reasonably could have developed from the EEOC’s investigation of the charges before it,’

meaning that ‘the EEOC charge and the complaint must describe the same conduct and implicate

the same individuals.’” Id. (quoting Ezell v. Potter, 400 F.3d 1041, 1046 (7th Cir. 2005)); accord

Cheek v. Peabody Coal Co., 97 F.3d 200, 202 (7th Cir. 1996). As this Court previously

recognized in denying the Merit Board’s motion to dismiss the claims against it, “Title VII does

not require procedural exactness, and EEOC charges must be construed with the ‘utmost

liberality’ to join parties sufficiently named or alluded to in the factual statement.” ECF No. 126

at 5 (quoting Eggleston v. Chicago Journeymen Plumber’s Local Union No. 130, U.A., 657 F.2d

890, 906 (7th Cir. 1981)).

         Frederick Merkerson filed the first charge filed by any Plaintiff here. His charge

specifically referred to both “the written exam” and the “physical exam” and challenged the

entire “hiring process” and its “hiring practices.” Ex. A, ¶¶ 6-7, 14-16. His charge was broad: the

CCSO “is rejecting numerous qualified minority (non-white) applicants” and “[i]n recent years,



                                                  2
  Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 8 of 22 PageID #:7412




the Sheriff’s Office’s hiring practices for correctional officers have resulted in a precipitous and

substantial drop in the number and percentage of African-Americans being hired.” Id., ¶¶ 13, 14.

He specifically mentioned both disparate treatment and disparate impact claims. Id., ¶ 16. And

although he was eliminated during a step in the hiring process after the written tests and the PAT,

he did not limit his charges about the disparate impact of the hiring process to those later steps:

he blamed the “hiring practices” and “hiring process” for the lack of African-American hiring.

Id., ¶¶ 14, 15, 16. These allegations identify the conduct that give rise to the claims of the four

proposed classes, i.e., the tests that are part of the hiring process have a disparate impact on

African American applicants. Moreover, Mr. Merkerson identified both the Merit Board and the

CCSO as conducting this hiring process. Id., ¶¶ 5, 7, 9-11. Defendants ignore all these

allegations in the charge.

       Mr. Merkerson’s charge clearly provided notice of a challenge to testing. But even if it

had not or even if its scope had been ambiguous, “issues implied by a charge and communicated

to the employer in the course of investigation can enlarge the set of claims open to litigation.”

O'Rourke v. Cont’l Cas. Co., 983 F.2d 94, 97 (7th Cir. 1993). Even when “the EEOC’s actual

investigation is broader than the underlying charge” – which is not the case here – if “the

employer has notice of the nature of the broader claims and an opportunity to conciliate those

claims, the purposes behind the exhaustion of administrative remedies requirement are met and

the employee should not be barred from filing a judicial complaint addressing the broader

investigated claims or claims reasonably related to the investigated claims.” U.S. E.E.O.C. v.

Roadway Exp., Inc., No. 06 C 4805, 2007 WL 2198363, at *4 (N.D. Ill. July 31, 2007).

       Here, the EEOC’s investigation indisputably covered and gave the Defendants notice of

claims about testing, a fact that the Defendants ignore. EEOC investigators asked Defendants’



                                                  3
  Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 9 of 22 PageID #:7413




counsel on July 20, 2016, to create an Excel spreadsheet beginning on January 1, 2014, with

specific data concerning each applicant’s experience in the Merit Board and CCSO stages of the

hiring process. As to the former, the EEOC asked for, among other data, “Race,” “Score on

Written examination,” “Score on the SBACC [the second written test],” and “Passed the Physical

Ability Test (y/n).” Ex. B. In the same email, the EEOC asked defendants to “provide what

constitutes a passing score for the written examination and the SBACC.” Id. A CCSO lawyer

emailed back on August 1 providing information about both written tests and the PAT. Id.

During a meeting between Defendants and EEOC investigators, Defendants described the entire

hiring process, including the written tests and the PAT. Ex. C. As a result, Defendants

indisputably knew that the EEOC’s investigation included the written and physical abilities tests.

And therefore, claims about testing are “open to litigation” here, O’Rourke, 983 F.2d at 97, even

without parsing the wording of the charge (which, however, also clearly mentions testing).

       Defendants have identified no authority to support their erroneous position that Plaintiffs

who did not file EEOC charges are barred from piggybacking on the EEOC charges of the filing

Plaintiffs because the latter group passed the written exams and PAT. In fact, this Court already

correctly applied the Seventh Circuit’s “single-filing” rule in allowing Plaintiff Joseph Simpson

to “piggyback” on the filing plaintiffs’ EEOC charges. ECF No. 126 at 5 n.1. A requirement that

the plaintiffs filing the EEOC charge be eliminated in the same phase of the hiring process as the

non-filing plaintiffs has no legal basis. See, e.g., Livingston v. City of Chicago, No. 16-10156,

2019 WL 194848, at *2 (N.D. Ill. Jan. 14, 2019) (permitting non-filing plaintiff in Title VII

gender discrimination lawsuit to pursue claims that a physical fitness exercise she failed was

discriminatory by piggybacking on EEOC charges filed by plaintiffs who failed different

physical abilities tests that did not identify those tests); see also Oxman v. WLS-TV, 595 F. Supp.



                                                 4
 Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 10 of 22 PageID #:7414




557, 558–60 (N.D. Ill. 1984) (race discrimination claims mentioned in complaint were

“reasonably related” to EEOC charge though filing plaintiff alleged that he personally suffered

only discrimination on the basis of religion and age—not race); Thomas v. City of Evanston, 610

F. Supp. 422, 437 (N.D. Ill. 1985) (complaint’s Title VII challenge to rank-ordering of

candidates who passed the PAT based on their PAT test scores was “reasonably related” to

EEOC charge though plaintiff who filed charge failed PAT). Nor is there any requirement that

the representative plaintiff for each class have filed an EEOC charge. See Orlowski v.

Dominick’s Finer Foods, Inc., 937 F. Supp. 723, 734-35 (N.D. Ill. 1996) (rejecting contention

that Seventh Circuit case law supports “position that a potential plaintiff cannot rely on the filed

EEOC charge of an already named plaintiff, where the two individuals could not represent the

same class in the suit”).

       Against all this caselaw, Defendants cite only one case in support of their position,

Vasich v. City of Chicago, No. 11 C 04843, 2013 U.S. Dist. LEXIS 1740 (N.D. Ill. Jan. 7, 2013),

which they blatantly misread. There, the charges did not support a class action because “[e]ach

charge spoke only of discrimination against the charging woman herself …. Not one of them

referred to any other applicants or to discrimination against women in general.” Id. at *15. The

Vasich charges had no class allegations. Merkerson’s charge, by contrast, has explicit class

allegations, as this Court has held. ECF No. 55 at 4. Merkerson filed “on my own behalf and on

behalf of others similarly situated,” whom his charge repeatedly refers to as “other African-

American and minority applicants.” Ex. A, ¶¶ 2, 15, 16. Vasich is irrelevant to this case.

B.     Plaintiffs Have Properly Applied the Statute of Limitations in Their Proposed Class
       Definitions.

       Next, Defendants ask the Court not to certify the four proposed classes because,

supposedly, Plaintiffs seek to include in the class some people whose claims are time-barred.


                                                  5
    Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 11 of 22 PageID #:7415




Resp. at 5. Defendants’ argument is legally erroneous. Plaintiffs have correctly applied Lewis v.

City of Chicago, 560 U.S. 205 (2010), to define the classes.

        As Plaintiffs showed in their opening brief, Lewis holds in a 9-0 decision, relying on the

statutory text of 42 U.S.C. § 2000e–2(k)(1)(A)(i) that a disparate impact claim arises every time

an employer “uses” a practice that has an adverse impact against members of a protected group,

560 U.S. at 212-14, and that an employer “uses” a test with every round of hiring in which it

limits hires to applicants who passed the test while excluding applicants who did not. Id. at 214.

In this case, Defendants used the tests each time it hired a class of correctional officers and

excluded applicants who failed the tests. It follows that, as in Lewis, class members who failed a

test and, as a result, were excluded from a class hired within 300 days of the first charge (in this

case, within 300 days of March 14, 2015), have timely claims. 1 And that is how Plaintiffs have

defined the testing classes in this case.

        Defendants’ attempts to avoid Lewis miss the mark. Resp. at 5-6. They completely ignore

that Lewis rested on Title VII’s statutory language, not factual particulars, and therefore cannot be

distinguished. They also ignore that, even if Lewis had not announced a rule applicable to all disparate

impact testing cases grounded in the text of Title VII, not factual particulars, the Supreme Court’s

unanimous decision in Lewis would still apply here because of the similarity of the factual particulars. Like

this case, Lewis was about: (i) use of a standardized test, (ii) with a cutoff score, (iii) that

determined eligibility to move forward (iv) in a job selection process. Id. at 208-09. And

Defendants’ suggestion that this Court should distinguish Lewis based on a pre-Lewis case,

Delaware State College v. Ricks, 449 U.S. 250, 259 (1980), is an ostrich-like argument, akin to a



1
         Stated differently, class members who sat for and failed the first written test in July 2014
were excluded from classes hired after March 2015. Not one person sitting for the first written
test in or after July 2014 was, or could have been, hired outside the class period.
                                                     6
  Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 12 of 22 PageID #:7416




party burying its head in the sand. Lewis itself rejects any distinction based on Ricks, making clear

that Ricks and similar decisions linking accrual to the date applicants first learn about their

rejection applies only in disparate treatment cases—and does not apply in disparate impact cases..

560 U.S. at 215. As other Courts have recognized, Lewis is controlling here. See, e.g., Murdock-

Alexander v. Tempsnow Empl. & Placement Servs., LLC, No. 16-cv-5182, 2016 U.S. Dist. LEXIS

160616, at *32 (N.D. Ill. Nov. 21, 2016) (“every ‘use’ of an employment practice that causes a

disparate impact ‘is a separate actionable violation of Title VII’ with its own statute-of-limitations

clock”); Conley v. Nestle USA, Inc., No. 09-CV-5996, 2011 U.S. Dist. LEXIS 8971, at *11 (N.D.

Ill. Jan. 31, 2011) (“Lewis, therefore, stands for the proposition that later implementation of a

policy that causes a disparate impact can qualify as a new, actionable ‘employment practice.’”).

        Finally, Defendants wrongly argue that the four classes should be denied based on its

limitations period challenges. They admittedly are not challenging Class 2 on statute of

limitations grounds at all. Resp. at 4 (“three out of the four class periods begin in July 2014,

instead of March 14, 2015”). And if the other three classes did have an erroneous start date –

they do not – a court should redefine, not deny, a class to correct the date. See, e.g., Garrard v.

Rust-Oleum Corp., No. 20-cv-00612, 2021 U.S. Dist. LEXIS 238566, at *18-19 (N.D. Ill. Dec.

14, 2021) (declining to strike class allegations because “[t]he class definition can ultimately be

revised to avoid statute of limitations issues”); Zollicoffer v. Gold Std. Baking, Inc., 335 F.R.D.

126, 165 (N.D. Ill. 2020) (reserving adoption of final class definition pending resolution of

statute of limitations issue).




                                                  7
 Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 13 of 22 PageID #:7417




C.     The Seventh Circuit Held that Plaintiffs Did Not Need to Offer Evidence About the
       Validity of the Tests to Satisfy the Commonality Requirement, and Defendants Are
       Asking the Court to Violate that Ruling.

       The Defendants also try to revive their argument that this Court should deny class

certification because of evidence that the tests are “valid.” But the Seventh Circuit could hardly

have been clearer in its rejection of that argument, pointing out that that it is a merits question

and, therefore, irrelevant to class certification. Indeed, as it explained, the answer as to whether

the tests were valid “seems likely to be the same for each class member” and thereby is itself a

common issue supporting the grant, not the denial, of class certification:

       To assess whether Simpson's claims presented common questions, the district
       court did not need to consider whether Simpson's statistical experts controlled for
       racially neutral factors or whether the tests had been validated for use at other
       departments. These considerations go not to commonality but instead to whether
       the exam subclasses can ultimately succeed on the merits. We cannot know at this
       stage. But what we can say is that, as to each subclass, the answer seems likely to
       be the same for each class member. That is all that Rule 23(a)(2) requires.

Simpson v. Dart, No. 21-8028, 2022 U.S. App. LEXIS 420, at *12 (7th Cir. Jan. 6, 2022)

(emphases added). There aren’t two ways to look at this. Defendants are inviting this court to

defy the Seventh Circuit’s mandate.

       In fact, Defendants ultimately concede that “[a] fair reading of the Seventh Circuit’s

opinion suggests that a statistical disparity alone raises an appropriate question for class

certification in a disparate impact case.” Resp. at 8. Yet they then speculate that this case could

conceivably pose an exception to that rule. Because “the record contains validity evidence

supporting the [two written] exams,” they argue, “[t]he appropriate common question for class

purposes … is whether the test[s were] validated properly” and, they say (wrongly), Plaintiffs

never raised “at least an arguable challenge to the validity evidence in the record.” . Id. at 8, 9.

All of that ignores the Seventh Circuit’s mandate. Defendants made the same argument to the

Seventh Circuit – indeed, it was their principal argument to the Court of Appeals. Resp. to Pet.,
                                                   8
 Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 14 of 22 PageID #:7418




App. ECF No. 5, at 11-17. The Seventh Circuit rejected it, concluding that validity questions

should be decided on the merits, not at class certification. 2022 U.S. App. LEXIS 420, at *12.

The Defendants’ suggestion that “[t]he Seventh Circuit never precisely addressed this legal point

or the arguments made by Defendants” is simply false. Resp. at 8. That is sufficient by itself. But

the Defendants’ effort to lead this Court astray goes even further. They falsely assert that

Plaintiffs have “ignore[d] validity evidence in the record.” Id. at 9. Plaintiffs have not “ignored”

Defendants’ validity evidence. Rather, this Court’s scheduling order calls for the parties to

exchange expert reports supporting their positions on test validity 90 days after a ruling on class

certification. ECF 253. And as Defendants know, Plaintiffs have retained experts to address and

present evidence of the (in)validity of each of the Defendants’ hiring exams. But the court’s

schedule never contemplated presenting merits evidence until after class certification.

D.     Plaintiffs’ Claims Satisfy the Commonality and Typicality Requirements
       Notwithstanding Differences in Preparation to Take the Tests, and Defendants
       Again Are Asking the Court to Violate the Seventh Circuit’s Ruling.

       As the Seventh Circuit stated, once Plaintiffs identified “the three challenged exams, the

ensuing Rule 23 analysis requires no inquiry into the merits to determine that the remaining two

elements of [their] disparate impact claims almost necessarily present questions common to the

class—whether those exams in fact caused a disparate impact and, if so, whether the use of the

exams was justified by business necessity.” Simpson, 2022 U.S. App. LEXIS 420, at *11

(emphasis added). Disparate impact challenges to tests also necessarily present a third common

question: lesser discriminatory alternative. See 42 U.S.C. § 2000e–2(k)(1)(A)(ii). The Court of

Appeals in this regard elaborated on the Supreme Court’s statement in Wal-Mart Stores, Inc. v.

Dukes, 564 U.S. 338, 353 (2011), that “‘a class action on behalf of every applicant or employee

who might have been prejudiced by [a biased testing procedure] clearly would satisfy the



                                                  9
    Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 15 of 22 PageID #:7419




commonality and typicality requirements of Rule 23(a)’” (quoting Gen. Tel. Co. of the Southwest

v. Falcon, 457 U.S. 147, 159 n.15 (1982)). 2

        Despite these three common questions raised by Plaintiffs’ challenge to the tests,

Defendants claim that differences among test takers in how they prepared for the tests or the

number of times they took the tests destroy commonality. Resp. at 10-12. Once again,

Defendants cite no authorities in support of their argument. And the argument is in fact

unsupportable. In any group of test takers, no two are ever likely to have prepared the same way,

for the same amount of time (or on the same night’s sleep, or having the same prior experience

or education, or aptitude, or having eaten the same breakfast). But that’s not required; otherwise,

there would be no class action challenges to tests and Dukes and Falcon wrongly held up

challenges to tests as appropriate for certification. Defendants cannot explain how their extreme

position could possibly be reconciled with these cases or the Seventh Circuit’s statement that

disparate impact challenges to tests “almost necessarily present questions common to the class.”

        Everything that is true of commonality here also applies to typicality To establish

typicality, “[a] class representative’s injuries … must arise from the same common events,

practices, or conduct and must be based on the same legal theory.” Washtenaw Cty. Emples. Ret.

Sys. v. Walgreen Co., No. 15-cv-3187, 2018 U.S. Dist. LEXIS 53435, at *15 (N.D. Ill. Mar. 29,

2018) (Coleman, J.) (citing Rosario v. Livaditis, 963 F.2d 1013, 1018 (7th Cir. 1992)). Here, the

class representatives took the same tests as the class members and are asserting the same



2
        Defendants suggest that Dukes and Falcon are limited to biased testing procedures and
do not include tests that, although fairly administered, are still biased in the sense that they
disproportionately disqualify a protect group without a job-related justification. . Resp. at 12 &
n.5. Unsurprisingly, they cite no authority for their invented distinction, which is inconsistent
with Title VII. See, e.g., Chi. Teachers Union, Local No. 1 v. Bd. of Educ. of Chi., 797 F.3d 426,
435 (7th Cir. 2015) (applying Dukes analysis to the criteria used by Board to identify schools for
possible reconstitution, not merely to the Board’s procedures for administering those criteria).
                                                10
 Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 16 of 22 PageID #:7420




disparate impact claims. Those similarities establish typicality; Defendants have identified no

authority suggesting that differing preparation levels defeat it.

E.     The Three Components of the Physical Abilities Test (“PAT”) Cannot Be Analyzed
       Separately.

       Defendants also urge the Court to reject Class 4, the proposed class of African Americans

who failed the PAT. That class should not be certified, Defendants say, because the PAT has

three components (sit-ups, a bench press, and a 1 ½ mile run), and class members did not fail the

test for a common reason. Some class members failed sits up and others a later component. Resp.

at 13. But what Defendants ignore is that when records do not exist to allow a hiring practice to

be analyzed step-by-step, then Title VII instructs that the practice should, in fact, be analyzed for

its bottom-line result. 42 U.S.C. § 2000e-2(k)(1)(B)(i); Port Auth. Police Asian Jade Soc’y of

N.Y. & N.J. Inc. v. Port Auth. of N.Y. & N.J., 681 F. Supp. 2d 456, 464 (S.D.N.Y. 2010)

(considering multi-step promotional process as a whole, reasoning that “whether a particular step

causes a disparate impact” could not be determined when “records do not exist for every step”).

       Title VII provides that if “the elements of a respondent’s decisionmaking process are not

capable of separation for analysis,” then the decisionmaking process should be analyzed “as one

employment practice.” 42 U.S.C. § 2000e-2(k)(1)(B)(i). The Defendants do not dispute this

proposition. See Resp. at 14 (acknowledging “statutory exception” allowing a “scoring process”

that is “not capable of separation for analysis” to “be analyzed ‘as one employment practice’”).

And they cannot credibly dispute the application of that section to this case.

       The records the Defendants made and kept of class members’ PAT results are grossly

incomplete, and the holes in those records make it impossible to analyze how many applicants of

each race failed each component of the PAT ( the sit-up, bench press, or 1 ½ mile run).

Defendants’ computerized records do not identify the component that an applicant failed. Ex. D,


                                                 11
    Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 17 of 22 PageID #:7421




¶ 4. Defendants point to paper records but neglect to mention that those paper records lack any

data concerning 19 administrations of the PAT in 2015 and 2016. Ex. D, ¶ 9; Ex. E, ¶ 3. Thirty

one percent of the applicants who failed the PAT between mid-2014 and the end of 2018 did so

during one of those 19 administrations of the test. Ex. D, ¶ 11. Plaintiffs also compared the

number of people shown to have passed and failed the PAT in the paper records to the numbers

shown in the computerized records for the first administration of the PAT each year from 2014

through 2018 for which Defendants have produced paper records. Ex. E, ¶¶ 4-6. For only one of

the five sampled dates did the paper records include records for even half the applicants who

failed the test. Ex. D, ¶¶ 12-13. Overall, the paper records are missing information on about 2/3

of the applicants who failed the PAT during those five sampled dates. Id. 3 Combining the effects

of the 19 dates for which all records are missing and the shoddy recordkeeping for the other test

dates, the paper records at best identify the component failed for only about ¼ of the applicants.

        No meaningful analysis could be performed on such incomplete records. But more

important for class certification, well over half the Black applicants who failed the PAT could

not be separated into a “sit up class,” a “bench press class,” or a “run class.” Because of

Defendants’ poor recordkeeping, “the elements of [Defendants’] decisionmaking process are not

capable of separation for analysis”; as a result, the PAT should “be analyzed as one employment

practice.” 42 U.S.C. § 2000e-2(k)(1)(B)(i); see Wards Cove Packing Co. v. Atonio, 490 U.S. 642,

650-51 (1989) (endorsing use of alternative statistics when preferred “statistics will be difficult if

not impossible to ascertain”); Palmer v. Shultz, 815 F.2d 84, 110 (D.C. Cir. 1987) (“‘plaintiffs

cannot legitimately be faulted for gaps in their statistical analysis when the information



3
        The records also are incomplete as to applicants who passed the PAT but anyone shown
as passing the PAT in the computerized records necessarily passed all three components.

                                                 12
 Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 18 of 22 PageID #:7422




necessary to close those gaps was possessed only by defendants and was not furnished either to

plaintiffs or to the Court’”) (quoting Trout v. Lehman, 702 F.2d 1094, 1102 (D.C. Cir. 1983)).

Defendants’ shoddy recordkeeping makes it unnecessary to address whether, if the paper records

were substantially complete, three component classes would be appropriate instead of a single

class challenging the PAT.

       Defendants also briefly argue that, because the rate at which Black candidates pass the

PAT is 83% of the White passage rate – i.e., greater than 80% – Plaintiffs cannot bring a

disparate impact challenge to the PAT. Resp. at 14. Once again, Defendants are trying to inject a

merits issue into a class certification decision and, once more, they are wrong on the law.

       The EEOC’s 80% Rule is a mere “rule of thumb” for the courts. Brand v. Comcast Corp.,

302 F.R.D. 201, 210 (N.D. Ill. 2014). As the Seventh Circuit explained, “the 80% guideline may

be ignored when other statistical evidence indicates a disparate impact.” Bew v. City of Chi., 252

F.3d 891, 893 (7th Cir. 2001) (approving of district court ruling that a statistically significant

disparity measured by more than five standard deviations “established prima facie disparate

impact”). An analysis showing a disparity of at least two standard deviations suffices for a prima

facie showing of disparate impact. See, e.g., Mister v. Ill. Cent. Gulf R. Co., 832 F.2d 1427, 1431

(7th Cir. 1987) (“findings should be accepted as ‘statistically significant’ when the observations

are more than two standard deviations away from the values” that would result if there was no

discrimination”). Here, the disparity between White and Black passage rates is measured by over

ten standard deviations, Ex. F at 29, a disparity so huge that for all practical purposes it could not

have occurred by chance. EEOC v. DHL Express United States, No. 10 C 6139, 2021 U.S. Dist.

LEXIS 253036, at *28 (N.D. Ill. Dec. 30, 2021) (disparity measured by eight standard deviations

would occur as a result of chance less than two times in ten trillion).



                                                  13
 Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 19 of 22 PageID #:7423




F.     Each Class Satisfies the Requirements for Certification under Rule 23(b)(3).

       Finally, Defendants argue that individual questions will predominate because the exams

are the first steps in a long hiring process and some class members would have been eliminated

at later steps, making relief inappropriate for them. But as Plaintiffs explained in their opening

brief (at pp. 8 & 9 & n.10), damages in class hiring cases generally are calculated on a class-wide

rather than individual basis. Again, Defendants engage in an “ostrich” defense: they have not

responded to this point or cited any contrary authority. But that does not make the authorities

cited by Plaintiffs go away.

       Under Defendants’ unsupported view of the law, no hiring class action in which

applicants outnumbered positions, and no hiring class action challenging a process that included

steps after the challenged practice, could ever be certified under Fed. R. Civ. P. 23(b)(3) to seek

a monetary recovery. The only possible relief would be injunctive, as Defendants come close to

admitting. Resp. at 15. But that is very clearly not the case, as an unbroken and uncontradicted

line of cases to the contrary demonstrates. See, e.g., EEOC v. O&G Spring & Wire Forms

Specialty Co., 38 F.3d 872, 879 & n.9 (7th Cir. 1994) (describing calculation of aggregate or

“class-wide [backpay] relief” in hiring discrimination cases); Stewart v. Gen. Motors Corp., 542

F.2d 445, 452 (7th Cir. 1976) (affirming use of class-wide rather than individualized backpay

calculations to avoid the “quagmire of hypothetical judgments” that would inevitably be required

to identify which particular individuals, out of a large class, would have been hired); Lewis v.

City of Chicago, No. 98 C 5596 (N.D. Ill., Aug. 17, 2011), ECF No. 470 § C (describing and

ordering calculation of aggregate backpay and method for distributing it to class members).

Defendants are inviting the court, once again, to defy Seventh Circuit precedents.




                                                 14
 Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 20 of 22 PageID #:7424




       But, Defendants assert, the methodology adopted by the Seventh Circuit (and every other

appellate and district court to consider whether to certify a hiring discrimination class action)

will result in some class members receiving awards even though they could not meet “the

remaining rigorous qualifications for employment at the CCSO.” Resp. at 15. Not true. A ruling

that one or more of the tests caused an illegal disparate impact will create a rebuttable

presumption that each class member is entitled to relief. See Int’l Bhd. of Teamsters v. United

States, 431 U.S. 324, 359 n.45 (1977) (“proof of a discriminatory pattern and practice creates a

rebuttable presumption in favor of individual relief”). If Defendants try to rebut the entitlement

to backpay of one or more class members, the need for individualized proof will not defeat

predominance or superiority. See Bell v. PNC Bank, N.A., 800 F.3d 360, 379 (7th Cir. 2015)

(“The fact that the plaintiffs might require individualized relief or not share all questions in

common does not preclude certification of a class.”) (citing five prior Seventh Circuit decisions);

Zollicoffer, 335 F.R.D. at 163 (“Plaintiffs’ central contentions will predominate in the liability

phase of the [employment discrimination class] case, and the Court can conduct individualized

inquiries to determine damages if necessary.”). The proposed classes meet both requirements for

Rule 23(b)(3) even if Defendants choose to engage in what Plaintiffs believe will prove to be a

largely wasteful and fruitless strategy of challenging individual class members’ rights to recover.

                                       III. CONCLUSION

       All four proposed classes satisfy the requirements of Rule 23(a) and 23(b)(3) for

certification. For the reasons stated above and in the prior proceedings in this case, as well as in

the Seventh Circuit’s opinion of January 6, 2022, the Court should certify the four proposed

classes.

Dated: May 2, 2022                             Respectfully submitted,



                                                  15
 Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 21 of 22 PageID #:7425




/s/ Michael Lieder
One of the attorneys for Plaintiffs


 Marni Willenson                            Matthew J. Piers
 marni@willensonlaw.com                     mpiers@hsplegal.com
 WILLENSON LAW, LLC                         Margaret E. Truesdale
 3420 W. Armitage Ave., Ste. 200            mtruesdale@hsplegal.com
 Chicago, IL 60647                          HUGHES SOCOL PIERS RESNICK & DYM, LTD.
 P:312.508.5380                             70 W. Madison Street, Suite 4000
 F:312.508.5382                             Chicago, IL 60602
                                            312.580.0100
 Cyrus Mehri
 CMehri@findjustice.com
 Michael Lieder
 MLieder@findjustice.com
 Joshua Karsh
 jkarsh@findjustice.com
 MEHRI & SKALET, PLLC
 2000 K St., NW, Ste. 325
 Washington, D.C. 20006
 202.822.5100




                                       16
Case: 1:18-cv-00553 Document #: 373 Filed: 05/02/22 Page 22 of 22 PageID #:7426




                                CERTIFICATE OF SERVICE


       I hereby certify that on May 2, 2022, I caused a copy of the foregoing document to be

served via the electronic case file system upon counsel of record for all parties.



                                             /s/ Michael Lieder
                                             One of the attorneys for Plaintiffs




                                                17
